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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

IN THE MATTER OF                                    :       CHAPTER 7
                                                    :
uBiome, Inc.                                        :       Case No. 19-11938 (LSS)
                                                    :
         Debtor.                                    :



      NOTICE TO INTERIM TRUSTEE/ TRUSTEE OF SELECTION IN AN ASSET CASE


TO:     Alfred T. Giuliano


        You are hereby notified of your appointment in an asset case as Interim Trustee/Trustee of
the estate of the above named debtor. The amount of your bond has been fixed by the United States
Trustee. You are required to notify T. PATRICK TINKER, ASSISTANT UNITED STATES
TRUSTEE, at J. Caleb Boggs Federal Building, 844 King Street, Suite 2207, Wilmington, DE.
19801 in writing within (5) days after receipt of this notice only if you reject this case.


                                             ANDREW R. VARA
                                             ACTING UNITED STATES TRUSTEE
                                             T. PATRICK TINKER
                                             ASSISTANT UNITED STATES TRUSTEE

DATED:         October 11, 2019
